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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF ILLINOIS


OLIVIA VAN HOUSEN, STEFAN REBIC,              Case No. 1:23-cv-15634
and NATE DLUZEK, individually and on
behalf of all others similarly situated,      Judge: Honorable LaShonda A. Hunt

        Plaintiffs,                           Magistrate: Honorable Gabriel A. Fuentes
vs.

AMAZON.COM, INC. D/B/A JUST WALK
OUT and AMAZON WEB SERVICES, INC.,

        Defendants.


             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
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I.        INTRODUCTION

          Ignoring the cases Amazon cited and their own pleading burden, Plaintiffs claim that

Amazon’s Motion boils down to simply: “Just trust us.”1 (See ECF 33 (“Opp.”) at 1.) Not so. It is

Plaintiffs who ask this Court to allow their claim to proceed simply because they think that it is

conceivable that the JWO Technology collects, captures, and discloses biometric identifiers in

violation of BIPA and discovery could help them figure out whether they are right. (Id. at 2.) But

the Supreme Court is clear that it is the Plaintiffs’ responsibility to identify sufficient facts to plead

a plausible claim, not Amazon’s responsibility to disprove Plaintiffs’ speculation. See Ashcroft v.

Iqbal, 556 U.S. 662, 678-79 (2009) (Rule 8 “demands more than an unadorned, the-defendant-

unlawfully-harmed-me-accusation”). Plaintiffs must “nudge [their] claims . . . across the line from

conceivable to plausible.” Id. (cleaned up). These Plaintiffs have failed to do so.

          Plaintiffs were obliged to conduct a pre-filing investigation to assert sufficient facts to

make their BIPA claims plausible. See Stove Builder Int’l, Inc. v. GHP Grp., 280 F.R.D. 402, 403

(N.D. Ill. 2012) (holding that the Federal Rules “require[] [plaintiffs’] counsel to have made a

reasonable prefiling inquiry—one that must be conducted in good faith, both subjective and

objective”). But the Opposition makes clear that Plaintiffs did not do so. Instead, Plaintiffs cherry-

picked terms from select Amazon patents and then hypothesized, without any objective reason to

do so, that the JWO Technology may practice some of the permissive claims and embodiments in

those patents and discovery might prove Plaintiffs right (or, more accurately, wrong). But when

Amazon pointed out in the Motion that the JWO Technology is not in fact marked with any of

those patents and those patents involve technology (like robots) that the JWO Technology plainly

does not utilize, Plaintiffs shift the focus again: faulting Amazon for not identifying which patents

are relevant. The burden is on Plaintiffs, not Amazon, to plead a plausible claim.

          Plaintiffs also ignore obvious explanations that reveal the implausibility of their claims.

See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (court must consider an “alternative



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    Since Plaintiffs refer to both Defendants as “Amazon,” this brief does the same.

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explanation” in determining whether a claim is plausible). Plaintiffs suggest that Amazon’s ability

to track customer movements using a “network of cameras” supports an inference that Amazon is

capturing biometric identifiers (as narrowly defined by BIPA). But this suggestion ignores

documents cited in Plaintiffs’ own Complaint which explain how the JWO Technology actually

works, including that “[n]o facial recognition is used.” (Compl. ¶ 18 n.15 (citing ECF 24-3, 24-24

(transcript of video explaining JWO Technology)).) The Court cannot ignore those public

explanations, which are incorporated by reference into the Complaint. Therefore, to state a

plausible claim under Iqbal, Plaintiffs bear the burden of alleging specific facts supporting a

reasonable inference that Amazon’s disclosures are inaccurate and that its JWO Technology does

in fact capture biometric identifiers. Plaintiffs allege no such facts, instead offering pure conjecture

that falls far short of satisfying that burden.

          Worse, in persisting with this lawsuit, Plaintiffs ignore clear evidence that their speculation

about Amazon’s JWO Technology is wrong. Three months ago, before filing its Motion, Amazon

sent Plaintiffs a sworn declaration from an experienced investigator who attested that the JWO

Technology worked in an Amazon Go store in Chicago even though he was dressed in attire that

covered all of his biometric identifiers. (See ECF 24-5 (investigator purchased products from the

store while wearing a face covering, gloves, and sunglasses and without speaking).) Plaintiffs

never explain how their allegations can be plausible when customers regularly enter stores with

their biometric identifiers covered (including by wearing gloves and face coverings), especially

during cold weather in Chicago or during the COVID mask mandates. Iqbal, 556 U.S. at 679

(“Determining whether a complaint states a plausible claim for relief will, as the Court of Appeals

observed, be a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.”). Significantly, despite trying to diminish the declaration as a

“paid-for demonstration,” Plaintiffs do not dispute that the JWO Technology works as intended

without capturing any biometric identifiers.

          Plaintiffs’ silence is critical. It cannot be plausible that the JWO Technology captures

consumers’ biometric identifiers if it functions normally without them. And, apart from

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speculation, Plaintiffs do not explain why the JWO Technology needs to collect biometric

identifiers when it works perfectly without them. Indeed, Plaintiffs had the ability—and, in fact,

the obligation—to buttress their speculative theories by testing this for themselves. For example,

Plaintiffs could easily have replicated the investigator’s test or performed another to verify the

accuracy of their conclusory allegations. Yet, despite the notice Amazon provided months ago,

Plaintiffs did not do even this modicum of diligence before demanding this Court’s time and

imposing the continuing burdens of litigation. Plaintiffs’ Complaint should therefore be dismissed

in its entirety.

          Moreover, even if Plaintiffs had plausibly pleaded that Amazon collects biometric

identifiers, they fail to plausibly allege that Amazon disclosed their biometric identifiers to third

parties in violation of BIPA Section 15(d). In Opposition, Plaintiffs argue that—despite Amazon

being the largest cloud service provider globally—Amazon could share the biometric identifiers

by hosting them on third party servers. But, again, Plaintiffs offer no specific facts in support of

this argument, impermissibly falling back upon the “possibility” that Amazon could do so. That is

insufficient under Iqbal, and Plaintiffs’ BIPA Section 15(d) claim must be dismissed on this basis

as well. See, e.g., Carpenter v. McDonald’s Corp., 580 F. Supp. 3d 512, 519 (N.D. Ill. 2022)

(dismissing BIPA section 15(d) claim where plaintiffs offered no “factual support” to support

“allegations regarding disclosure, redisclosure, or dissemination”).

II.       ARGUMENT

          A.       Plaintiffs Do Not Plausibly Allege that JWO Technology Captures Biometric
                   Identifiers
          Each of Plaintiffs’ BIPA claims requires a plausible allegation that the JWO Technology

collects biometric identifiers.2 (Mot. at 2.) Plaintiffs parrot the statutory language by alleging that
the JWO Technology captures scans of “facial geometry, hand geometry, and voice print,” but




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  Plaintiffs march through their causes of action for Sections 15(a) – 15(d) without acknowledging
that they must first and foremost plausibly allege that the JWO Technology collects biometric
identifiers as defined by BIPA. (Opp. at 5-9.)

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they identify only two categories of supposed facts in support: (1) Amazon’s “patents,” and in

particular the ’396 Patent; and (2) the use of a “network of cameras” in the Amazon Go stores.

(Mot. at 5-6.) Amazon explained in its moving papers why these allegations are insufficient to

plausibly allege a BIPA claim. (Id. At 6-12.) In response, Plaintiffs do not dispute that these

allegations are all they have to support their claim. They instead argue that the “patents” and

“network of cameras” allegations are sufficient to push their claims across the line from

conceivable to plausible. (Opp. at 10-13.) Not so.

                 1.     Plaintiffs Do Not Plausibly Allege that the Identified Patents Are
                        Implemented in JWO Technology

          Amazon demonstrated that Plaintiffs’ allegations fail to plausibly establish that the JWO

Technology is reflected in the “various patent filings,” and particularly, the ’396 Patent, which are

described in the Complaint. (Mot. at 6-9 (citing Compl. ¶ 25 n.18).) In particular, Amazon

established that (1) Plaintiffs concede that the patents only “appear to relate to JWO

[T]echnology” but have alleged nothing to tie the patents to the JWO Technology; (2) Plaintiffs

do not allege that the JWO Technology is marked with the patents cited by Plaintiffs in the

Complaint (nor can they, as the JWO Technology is not marked); (3) a review of the patents cited

by Plaintiffs reveals many dissimilarities to the JWO Technology; and (4) even if it were plausible

that some aspects of the patents were being practiced in the JWO Technology, the claims Plaintiffs’

cite are only examples of possible and permissive uses of the patented technology. Plaintiffs’

Response fails to meaningfully address any of these arguments.

          First, Plaintiffs’ Response does not tie the patents cited in the Complaint to the JWO

Technology. Plaintiffs argue that “the technology and processes described in the ’396 Patent bear

a striking resemblance to” the JWO Technology, (Opp. at 10), but they cite no factual allegations

actually showing such a resemblance. Nor could they, as even a cursory review of the the’396

Patent reveals many more dissimilarities with the JWO Technology than similarities. (Mot. at 7.)

For example, the Patent is titled “Transitioning Items From a Materials Handling Facility” and

contains many claims that are not alleged to be implemented in the Amazon Stores, such as


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configuring robots, the presence of “light curtains,” or using “portable device[s]” with

microphones and joysticks in a materials handling facility. (Id.; ECF 24-6 at 15, 20.) Plaintiffs’

only rejoinder is that “a retail store is one of the potential applications for the technology described

in the ’396 Patent,” (Opp. at 10 (emphasis added)). But a single mention of one “potential” use of

the technology described in the patent does not support a reasonable inference that Amazon is

actually using the technology in that matter, let alone that it is using permissive aspects of the

technology (such as facial recognition and voiceprints). Plaintiffs’ failure to plead any actual

connection between the ’396 Patent and JWO Technology makes clear that Plaintiffs’ allegations

“amounts to nothing more than speculation,” which is insufficient to survive a motion to dismiss.

Holland v. Lake Cnty. Mun. Gov’t, 605 F. App’x 579, 580 (7th Cir. 2015) (claim “amounts

to nothing more than speculation, which is insufficient to state a plausible claim for relief.”).

          Second, Plaintiffs do not dispute that they fail to allege that the JWO Technology was

marked with any of the alleged patents. See, e.g., Am. Med. Sys., Inc. v. Med. Eng’g Corp., 6 F.3d

1523, 1538 (Fed. Cir. 1993) (under patent laws, patent-holders are required to mark patented

apparatus to give notice to the public of the patent). Instead, they pointlessly assert that Amazon

“does not identify any other patent that purportedly covers” the JWO Technology. (Opp. at 11.)

This is irrelevant: Amazon is not required to identify which patent, if any, is implicated by the

JWO Technology. It is instead Plaintiffs’ burden to plead a plausible claim.3 Their failure to do so,

relying only on a claim that the patents “appear to” relate to the JWO Technology, requires

dismissal. See Bresaz v. Cnty. of Santa Clara, 2015 WL 1230316, at *6 (N.D. Cal. Mar. 17, 2015)

(“that the Decedent appeared to be ‘manic’ is [] insufficient” absent allegations “that the Decedent

was manic” to allege disability (emphasis added)); In re Witaschek, 2018 WL 1386695, at *1

(Bankr. D.D.C. Mar. 16, 2018) (“[A]lleging that the District ‘appears to have assessed’ taxes for



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  Plaintiffs complain in a footnote that the required diligence would require them to “show[] up at
the relevant stores with ladders.” (Opp. at 11 n.3.) Not so. Nothing prevents Plaintiffs from looking
up at the technology in the ceilings or looking for the cameras they allege are embedded in the
shelves, which would be at eye level and would not require a ladder to view.

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prepetition years is insufficient to allege that the taxes were actually assessed” (emphasis added)).

          Third, Plaintiffs concede that they have not alleged, and have no basis to allege, that the

claims in the ‘396 Patent related to face, voice, or hand recognition technology are actually

implemented in the JWO Technology. As Amazon pointed out, even if the ‘396 Patent were being

practiced in the JWO Technology, these claims were explicitly permissive, rather than mandatory,

and thus the mere fact that the ‘396 patent contains these claims does not support a reasonable

inference that the JWO Technology captures biometric identifiers. (Mot. at 8.)

          In response, Plaintiffs agree that patents often include claims that are not implemented into

the ultimate technology. (See Opp. at 11-12 (arguing that patent applicants are incentivized to

“describe fuller functionality” using permissive language like “may” rather than “limiting claims

to specific implementations,” in order to “preserve broad patent rights over future iterations”).)

And they concede that (i) “the ’396 Patent [may be] broader than the technology employed today,”

and (ii) although “certain capabilities . . . may not presently be implemented in Amazon Fresh and

Go stores. . . they could someday be.” (Opp. at 12 (emphasis added).) These are fatal admissions

because Plaintiffs cannot assert a claim based on what the JWO Technology might do in the future.

Indeed, the statute and case law require that, to have standing, Plaintiffs must be “aggrieved” today,

not that they may suffer some speculative future harm. See 740 ILCS 14/20 (limiting standing to

“aggrieved” persons); TransUnion LLC v. Ramirez, 594 U.S. 413, 441 (2021) (“risk of future harm

on its own does not support Article III standing for the plaintiffs’ damages claim.”).

          In sum, Plaintiffs’ Opposition fails to contradict, and in fact concedes in many respects,

Amazon’s argument that the identified patents do not make Plaintiffs’ BIPA claims plausible.

                 2.      Plaintiffs Do Not Otherwise Plausibly Allege that JWO Technology
                         Collects “Biometric Identifiers,” as Defined by BIPA

          As Amazon established in its moving papers, Plaintiffs’ allegations about the existence of

a “network of cameras” is insufficient to plead a plausible claim because, among other things, then

virtually every BIPA claim against an Illinois retailer who uses cameras for any purpose would

survive the pleading stage. (Mot. at 9-12.) Plaintiffs offer no meaningful response to this argument,


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instead responding with two arguments that have little to do with their pleading. Both fail.

          First, Plaintiffs characterize Amazon’s arguments as “simply den[ying] plaintiffs’ factual

allegations,” and argue that the Motion is based on “unsubstantiated factual representations.” (Opp.

at 9). Not so. Amazon’s arguments establish the implausibility and conclusory nature of Plaintiffs’

Complaint by highlighting the lack of specific facts. For example, Plaintiffs’ vague assertion that

“overhead cameras” somehow capture their facial geometry, absent specific facts, is too

speculative and conclusory to survive a motion to dismiss. (See Mot. at 11.) Amazon includes

examples not just to show that “JWO Technology might have trouble capturing biometrics,” (Opp.

at 14), but that based on “common sense” and judicially noticeable facts (including multiyear mask

mandates) it would be impossible for JWO Technology to capture facial geometry. See McCauley

v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011) (quoting Iqbal, 556 U.S. at 664).

          Some of these examples come from Plaintiffs’ own allegations. In their Complaint,

Plaintiffs cite to an explanatory video on JWO Technology that explicitly states: “No facial

recognition is used.” (Compl. ¶ 18 n 15 (citing ECF 24-4 (transcript of video at 1:38)).) The Court

may consider these references when ruling on a motion to dismiss. See Brownmark Films, LLC v.

Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012) (“[T]he incorporation-by-reference doctrine

provides that if a plaintiff mentions a document in his complaint, the defendant may then submit

the document to the court without converting defendant’s 12(b)(6) motion to a motion for summary

judgment.”). Moreover, Plaintiffs do not dispute that they failed to include any allegations that

Plaintiffs spoke or otherwise vocalized in the store, or that there are microphones in the stores,

making it implausible that the JWO Technology captures voiceprints (and certainly not Plaintiffs’).

          Plaintiffs instead claim that their allegations “exceed those accepted by other courts in

BIPA cases.” (Opp. at 12.) But Plaintiffs have not pointed to any case law that excuses them from

identifying specific allegations that plausibly allege that JWO Technology collects “retina or iris

scan[s], fingerprint[s], voiceprint[s], or scan[s] of hand or face geometry,” 740 ILCS 14/10:

   Plaintiffs cite Cothron v. White Castle Sys., Inc. to argue that a plaintiff’s allegations can be
    sufficient “[d]espite not knowing the specific technological underpinnings of the biometric

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    process.” (Opp. at 12 (citing 467 F. Supp. 3d 604, 618 (N.D. Ill. 2020).) But in Cothron, there

    was no dispute that the technology captured biometric identifiers: allegations involved a

    “fingerprint-based computer system that required [plaintiff], as a condition of continued

    employment, to scan and register her fingerprint.” Cothron, 467 F. Supp. 3d at 610.

    Accordingly, Cothron does not aid Plaintiffs here.

   Citing Rivera v. Google Inc., Plaintiffs assert in a footnote that they “allege a plausible
    violation because JWO uses machine learning and artificial intelligence to convert those

    identifiers to biometric information for purposes of tracking shoppers.” (Opp. at 11 n.2 (citing

    238 F. Supp. 3d 1088, 1097 (N.D. Ill. 2017)) In Rivera, plaintiffs alleged that their

    photographic images were uploaded, without their consent, to a cloud-based service that

    scanned facial features to create face templates. Rivera, 238 F. Supp. 3d at 1097. The court

    rejected the argument that facial geometry derived from a photograph could not constitute a

    biometric identifier under BIPA. Id. But Plaintiffs in that case specifically alleged how Google

    took uploaded photos, extracted the individuals’ facial scans, and created custom face

    templates, all for the purpose of uniquely identifying individuals. Id. at 1091. Plaintiffs made

    no such specific factual allegations here.

   Plaintiffs mischaracterize Vance v. Amazon.com Inc., to assert that Amazon’s arguments have
    been rejected by courts. (Opp. at 15 (citing 525 F. Supp. 3d 1301, 1311 (W.D. Wash. 2021).)

    Not so. Vance was not about JWO Technology. In Vance, Plaintiffs alleged specific facts to

    demonstrate how their biometric data was collected when they uploaded photographs of

    themselves to a photo-sharing website. Plaintiffs allege that the photographs were compiled

    into a dataset where facial geometry in the photographs were scanned to make available to

    companies to “improve their facial recognition technology.” Id. at 1306, 1310-1311. Plaintiffs

    misleadingly quote Vance, which made clear that, as in Rivera, 238 F. Supp. 3d 1088, supra,

    the Court was rejecting defendant’s arguments regarding “BIPA’s applicability to facial scans

    derived from photographs.” Vance, 525 F. Supp. 3d at 1311 (emphasis added). That ruling has

    no relevance here, where Plaintiffs allege no specific facts supporting a plausible inference that

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    Amazon extracted their biometric information from photos or videos. 4

          Second, Plaintiffs urge the Court to ignore that their allegations are fatally deficient and

instead allow them to proceed to discovery because they lack the information necessary to

determine whether the JWO Technology collects biometric identifiers. (Opp. at 13 (asserting that

the “key details around the JWO [T]echnology are solely in Amazon’s possession.”).) But

speculating about what discovery might reveal in the future does not relieve Plaintiffs of their

burden to plausibly allege their claims today. Plaintiffs’ reliance on Green v. Beth to justify their

plea for discovery is misplaced. There, the Seventh Circuit found that an inmate plausibly alleged

deliberate indifference with specific allegations that an unnamed defendant needlessly made him

wait six days to treat his broken teeth. The Seventh Circuit held that in light of these allegations,

the plaintiff should be allowed to discover the name of the unnamed defendant. 663 F. App’x 471,

474 (7th Cir. 2016). In other words, the plaintiff in Green had sufficient facts to allege a wrongful

act (waiting for treatment) and harm (broken teeth); he just did not know who injured him, which

discovery would reveal. Id. Here, by contrast, Plaintiffs have alleged no specific facts to even

plausibly allege that the JWO Technology collects biometric identifiers, and just wish to proceed

to discovery to create a claim. Under controlling Supreme Court precedent, this Court must reject

what Plaintiffs attempt to do here: use allegations to impose “the threat of discovery expense.”

Twombly, 550 U.S. at 559. Plaintiffs’ BIPA claims must all be dismissed.

          B.     Plaintiffs Do Not Plausibly Allege Disclosure of Biometric Identifiers under
                 Section 15(d) of BIPA in Count 4
          Even if Plaintiffs plausibly pleaded that JWO Technology captures biometric identifiers,



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 Amazon ultimately prevailed on summary judgment in Vance on other grounds. Vance, 2022 WL
12306231, at *8. As for plaintiffs’ claim for unjust enrichment, the court found plaintiffs
“present[ed] only speculation” that Amazon had used the dataset to improve its own facial
recognition product. Id. at *9.

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Plaintiffs fail to allege any facts supporting their claim under BIPA Section 15(d) that the

identifiers were disclosed to a third party. (See Mot. at 13-14.) In Opposition, Plaintiffs rely on

Amazon’s patents to vaguely assert that “Amazon discloses customers’ biometrics to ‘computing

resources,’” but Plaintiffs do not allege any facts even suggesting that these unidentified resources

are “external to Amazon.” (Opp. at 8-9.) Plaintiffs merely speculate that Amazon might rely on

external resources and might disclose biometric information to third parties, without identifying

any such resources or any such third parties. That is far from sufficient to state a Section 15(d)

claim, particularly given that Amazon is the nation’s largest cloud computing company. It is

simply not plausible that Amazon needs to rely on external computing resources to operate its

JWO Technology when it owns many of the nation’s largest data centers.

          Put simply, Plaintiffs’ failure to plead any specific facts showing that Amazon shares

biometric identifiers with third parties requires dismissal of Count 4. See Namuwonge v. Kronos,

Inc., 418 F. Supp. 3d 279, 285 (N.D. Ill. 2019) (dismissing Section 15(d) claim when plaintiff

“pleaded on information and belief that [defendant] . . . disclosed her fingerprints to other third

parties that host the data”); Carpenter, 580 F. Supp. 3d at 519 (dismissing Section 15(d) claim

because “all of Plaintiff’s allegations regarding disclosure, redisclosure, or dissemination are

conclusions that parrot BIPA’s language”).

III.      CONCLUSION

          Plaintiffs argue that their allegations are sufficient based on what “could [] be,” rather than

what is. To survive a motion to dismiss, they must do more. Plaintiffs cannot avoid dismissal by

relying on inapposite patent claims, pointing to the fact that Amazon Go Stores have cameras (like

virtually every retail establishment in Illinois), or speculating about discovery. For the foregoing

reasons, Amazon respectfully requests that this Court dismiss Plaintiffs’ Complaint with prejudice.



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Dated: February 5, 2024               Respectfully submitted,

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